                                        Case 3:19-md-02918-MMC Document 1155 Filed 07/12/24 Page 1 of 8




                                  1

                                  2

                                  3                            IN THE UNITED STATES DISTRICT COURT

                                  4                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                  5

                                  6      IN RE: HARD DISK DRIVE                          Case No. 19-md-02918-MMC
                                         SUSPENSION ASSEMBLIES
                                  7      ANTITRUST LITIGATION
                                         ________________________________                ORDER DENYING DEFENDANTS'
                                  8                                                      MOTION FOR CERTIFICATION OF
                                         This Document Relates to:                       DOCUMENT NO. 1136 FOR
                                  9                                                      INTERLOCUTORY APPEAL

                                  10     ALL CLASS ACTIONS

                                  11

                                  12
Northern District of California
 United States District Court




                                              Before the Court is defendants'1 "Motion for Certification of Dkt. No. 1136 for
                                  13
                                       Interlocutory Appeal Pursuant to 28 U.S.C. § 1292(b)," filed May 6, 2024. Plaintiffs2 have
                                  14
                                       filed opposition, to which defendants have replied. Having read and considered the
                                  15
                                       parties' respective written submissions, the Court rules as follows.3
                                  16
                                                                              BACKGROUND
                                  17
                                              In their respective operative complaints, Reseller Plaintiff's Third Consolidated
                                  18
                                       Amended Complaint ("TAC") and End-User Plaintiff's Fourth Amended Consolidated
                                  19
                                       Class Action Complaint" ("4AC"), plaintiffs assert state law antitrust and related claims
                                  20
                                       based on their allegations that TDK Defendants and NHK Defendants engaged in a
                                  21

                                  22          1
                                                Defendants are (1) TDK Corporation, Hutchinson Technology Inc., Magnecomp
                                  23   Precision Technology Public Co., Ltd., Magnecomp Corporation, and SAE Magnetics
                                       (H.K.) Ltd. (collectively, “TDK Defendants”), and (2) NHK Spring Co., Ltd., NHK
                                  24   International, NAT Peripheral (Dong Guan) Co., Ltd., NAT Peripheral (Hong Kong) Co.,
                                       Ltd., and NHK Spring (Thailand) Co., Ltd. (collectively, “NHK Defendants”).
                                  25          2
                                               Plaintiffs are (1) Reseller Plaintiffs, comprising three entities and two individuals
                                  26   who allege they purchased for resale HDDs or products containing HDDs, and (2) End-
                                       User Plaintiffs, who are fifty-two individuals who allege they purchased for personal use
                                  27   HDDs or products containing HDDs.
                                              3
                                  28              By order filed June 21, 2024, the Court took the matter under submission.
                                        Case 3:19-md-02918-MMC Document 1155 Filed 07/12/24 Page 2 of 8




                                  1    conspiracy to fix the prices of suspension assemblies ("SAs"), a component contained in

                                  2    hard disk drives ("HDDs"). According to plaintiffs, HDD manufacturers, which purchased

                                  3    SAs from defendants, passed on the overcharge to their customers, which customers

                                  4    consist of (1) persons and entities who purchased HDDs for resale to other resellers or to

                                  5    end-users (see, e.g., TAC ¶ 52 (alleging HDD manufacturers sold HDDs to "distributors,"

                                  6    which, in turn, sold them to "resellers"), 4AC ¶ 211 (alleging HDD manufacturers sold

                                  7    HDDs to "resellers," which, in turn, sold them to "end-users")), (2) persons and entities

                                  8    who purchased HDDs for their own use (see, e.g., 4AC ¶ 32 (alleging HDD manufacturer

                                  9    Western Digital sold HDD to end user Jeffrey Greenfield)), and (3) entities who

                                  10   manufactured products containing HDDs, such as computers, which products were then

                                  11   sold to resellers or to end-users (see, e.g., TAC ¶ 54 (alleging HDD manufacturers sold

                                  12   HDDs to computer manufacturers, who, in turn, sold computers to "distributors and
Northern District of California
 United States District Court




                                  13   resellers"); 4AC ¶ 47 (alleging computer manufacturer HP sold computer to end user

                                  14   Andrew Syverson)).4

                                  15          On August 8, 2022, defendants moved for summary judgment, arguing the Foreign

                                  16   Trade Antitrust Improvements Act ("FTAIA") barred plaintiffs' claims, with the exception of

                                  17   any claims based on the purchase of an HDD directly from an HDD manufacturer, an

                                  18   exception that appeared to apply only to claims asserted on behalf of end user Jeffrey

                                  19   Greenfield. By order filed May 23, 2023, the Court denied the motion, finding a triable

                                  20   issue existed as to the applicability of the "import trade/import commerce exclusion" set

                                  21   forth in the FTAIA. (See Doc. No. 955 at 5:1-9:3.) Thereafter, by order filed March 29,

                                  22   2024 ("March 29 Order"), the Court reconsidered its prior order, and, in particular, found

                                  23   the import trade/import commerce exclusion was, as a matter of law, inapplicable to

                                  24   plaintiffs' claims. (See March 29 Order [Doc. No. 1136] at 3:25-5:17.) The Court,

                                  25   however, again denied defendants' motion for summary judgment, finding a triable issue

                                  26   of fact existed as to the applicability of the "domestic effects exception" set forth in the

                                  27
                                              4
                                  28              No manufacturer is a party to the above-titled multi-district litigation.

                                                                                        2
                                        Case 3:19-md-02918-MMC Document 1155 Filed 07/12/24 Page 3 of 8




                                  1    FTAIA. (See id. at 5:19-11:26.)

                                  2                                        LEGAL STANDARD

                                  3           Pursuant to 28 U.S.C. § 1292, a district court may certify for interlocutory appeal

                                  4    an order where (1) "such order involves a controlling question of law," (2) "there is

                                  5    substantial ground for difference of opinion" as to such question of law, and (3) "an

                                  6    immediate appeal from the order may materially advance the ultimate termination of the

                                  7    litigation." See 28 U.S.C. § 1292(b).

                                  8                                            DISCUSSION

                                  9           By the instant motion, defendants seek an order certifying for interlocutory appeal

                                  10   the Court's March 29 Order, specifically, the question of whether the domestic effects

                                  11   exception applies where an indirect purchaser paid "allegedly inflated prices" for products

                                  12   containing a price-fixed component and the "market" for those products is one in which
Northern District of California
 United States District Court




                                  13   the defendant "did not participate" (see Defs.' Mot. for Certification at 1:14-18), a question

                                  14   defendants would answer in the negative.

                                  15          In addressing defendants' motion, the Court first sets forth the requirements in the

                                  16   FTAIA, next summarizes the Court's findings in the March 29 Order, and then considers

                                  17   whether said Order is appropriate for interlocutory appeal.

                                  18          The FTAIA provides:

                                  19          Sections 1 to 7 of this title [the Sherman Act] shall not apply to conduct
                                              involving trade or commerce (other than import trade or import commerce)
                                  20          with foreign nations unless—
                                  21          (1) such conduct has a direct, substantial, and reasonably foreseeable
                                              effect--
                                  22
                                                     (A) on trade or commerce which is not trade or commerce with
                                  23                 foreign nations, or on import trade or import commerce with foreign
                                                     nations; or
                                  24
                                                     (B) on export trade or export commerce with foreign nations, of a
                                  25                 person engaged in such trade or commerce in the United States;
                                                     and
                                  26
                                              (2) such effect gives rise to a claim under the provisions of [the Sherman
                                  27          Act].
                                  28   See 15 U.S.C. § 6a.
                                                                                     3
                                        Case 3:19-md-02918-MMC Document 1155 Filed 07/12/24 Page 4 of 8




                                  1           As explained by the Supreme Court, the FTAIA "initially lays down a general rule

                                  2    placing all (nonimport) activity involving foreign commerce outside the Sherman Act's

                                  3    reach." See F. Hoffman-La Roche Ltd. v. Empagran S.A., 542 U.S. 155, 162 (2004).

                                  4    The exception to the general rule, referred to as the "domestic effects exception," see

                                  5    United States v. Hsiung, 778 F.3d 738, 756 (9th Cir. 2015), applies where the conduct on

                                  6    which the plaintiff's claim is based has a "'direct, substantial, and reasonably foreseeable

                                  7    effect' on American domestic, import, or (certain) export commerce," see Empagran, 542

                                  8    U.S. at 162 (quoting 15 U.S.C. § 6(a)(1)), and the effect gives rise to "the plaintiff's claim

                                  9    or the claim at issue," see id. at 173 (internal quotations omitted), which claims, in the

                                  10   above-titled actions, are state law antitrust claims.5

                                  11          Here, plaintiffs' theory as to the domestic effects exception is that defendants'

                                  12   asserted "price-fixing cartel" had the effect of "increas[ing] prices for HDDs and the
Northern District of California
 United States District Court




                                  13   products that contain them." (See Pls.' Opp. to Mot. for Summ. J. [Doc. 618-2] at 7:6-8:1;

                                  14   see also TAC ¶ 11-12 (alleging resellers "paid more" for products containing SAs "than

                                  15   they otherwise would have paid in a competitive market"), 4AC ¶ 216 (alleging end user

                                  16   plaintiffs "paid higher prices" for products containing SAs "than they would have in the

                                  17   absence of [d]efendants' conspiracy").) In particular, plaintiffs assert, the foreign market

                                  18   in which defendants participated when they sold SAs to HDD manufacturers and the

                                  19   domestic market in which plaintiffs participated when they purchased HDDs or products

                                  20   containing HDDs are sufficiently intertwined because the domestic market is "the top

                                  21   market for HDDs, the demand for which correlates with the available market for

                                  22   [d]efendants' SAs." (See Pls.' Opp. to Mot. for Summ. J. at 5:12-13; see also TAC ¶ 115

                                  23   (alleging "markets for HDDs and [SAs] are inextricably linked and intertwined because

                                  24   the market for [SAs] exists to serve the HDD market"), 4AC ¶ 212 (same).)

                                  25   //

                                  26
                                              5
                                  27           Although plaintiffs bring claims under state antitrust laws, the FTAIA, as was
                                       discussed in the Court's initial order addressing defendants' motion for summary
                                  28   judgment, applies to state law antitrust claims.

                                                                                      4
                                        Case 3:19-md-02918-MMC Document 1155 Filed 07/12/24 Page 5 of 8




                                  1           In seeking summary judgment, defendants first argued plaintiffs lacked evidence

                                  2    to prove the claimed effect had either a "direct" or a "substantial" effect on domestic

                                  3    commerce (see Defs.' Mot. for Summ. J. at 20:1, 22:4), which arguments the Court found

                                  4    unpersuasive (see March 29 Order at 6:23-10:16), and which findings defendants do not

                                  5    assert are appropriate for interlocutory appeal.6

                                  6           Defendants next argued that the "effect" on which plaintiffs rely does not "give[ ]

                                  7    rise" to an antitrust claim. (See Defs.' Mot. for Summ. J. at 24:9-10.) Specifically,

                                  8    defendants argued, the "gives rise to a claim" provision in the FTAIA requires the effect to

                                  9    "constitute in relevant part a 'restraint of trade' that would violate [antitrust laws]," and that

                                  10   a "restraint of trade" occurs where there is "a restriction of competition in a relevant

                                  11   market." (See id. at 24:10-13, 16-17.) With respect to plaintiffs' claims, defendants

                                  12   asserted, "[w]hatever effects may have been felt on U.S. Commerce," those "effects were
Northern District of California
 United States District Court




                                  13   not a restraint of trade in domestic or import commerce," for the reason that the products

                                  14   plaintiffs purchased "were finished products, not [SAs]." (See id. at 24:17-20.) In other

                                  15   words, defendants contended, plaintiffs could make "no claim" that "the markets for those

                                  16   finished products . . . were restrained as a result of [d]efendants' alleged conduct." (See

                                  17   id. at 24:21-23.)

                                  18          The Court found defendants' argument unpersuasive. Specifically, the Court

                                  19   noted, defendants cited no authority for their argument that indirect purchaser claims

                                  20   based on the effect asserted by plaintiffs would not violate the state antitrust laws on

                                  21   which plaintiffs rely. Rather, the Court observed, in cases where indirect purchasers

                                  22   bought from non-conspirators products in which a price-fixed component had been

                                  23   incorporated, district courts have found such claims cognizable under state law, at least

                                  24   where, as here, the plaintiffs offered evidence that the "the price-fixed component ha[d]

                                  25   no independent utility" and "the overcharge assertedly passed through to plaintiffs [could]

                                  26

                                  27
                                              6
                                  28              In light thereof, the Court does not further address those findings herein.

                                                                                       5
                                        Case 3:19-md-02918-MMC Document 1155 Filed 07/12/24 Page 6 of 8




                                  1    be traced." (See March 29 Order at 11:1-15 (citing cases).)7

                                  2           In seeking early review of such findings, defendants, as noted, must establish the

                                  3    March 29 Order involves a "controlling question of law" as to which a "substantial ground

                                  4    for difference of opinion" exists, and that allowing an interlocutory appeal would

                                  5    "materially advance the ultimate termination of the litigation." See 28 U.S.C. § 1292(b).

                                  6           Although the Court agrees with defendants that the question they raise qualifies as

                                  7    "controlling," given that the claims of all Reseller Plaintiffs and the claims of all but one

                                  8    End-User Plaintiff would be summarily resolved in their favor if the answer they propose

                                  9    is accepted, see In re Cement Antitrust Litig., 673 F.2d 1020, 1026 (9th Cir. 1981)

                                  10   (holding question is "controlling," for purposes of § 1292(b), where its resolution "could

                                  11   materially affect the outcome of the litigation in the district court"), the Court, as set forth

                                  12   below, finds defendants have failed to show a substantial ground for difference of opinion
Northern District of California
 United States District Court




                                  13   exists as to such question.8

                                  14          In the instant motion, defendants, as in their motion for summary judgment, cite no

                                  15   authority holding indirect purchaser claims based on effects of the type asserted here are

                                  16   not cognizable under state law. The case cited by defendants, Kruman v. Christie's Int'l

                                  17   PLC, 284 F.3d 384 (2nd Cir. 2002), does not address indirect purchaser claims, but,

                                  18   rather, the cognizability of a Sherman Act claim by plaintiffs who, outside the United

                                  19   States, directly purchased services from allegedly price-fixing defendants, and, in that

                                  20
                                              7
                                  21            As was explained in one such case, in which the defendants allegedly sold price-
                                       fixed parts to automobile manufacturers, who, in turn, incorporated said parts into
                                  22   automobiles purchased by the plaintiffs, see In re Automobile Parts Antitrust Litig., 29 F.
                                       Supp. 3d 982, 992, 994 (E.D. Mich. 2014), such price fixing "harm[ed]" the "market" in
                                  23   which plaintiffs participated, i.e., the market for vehicles, because the market for the parts
                                       and the market for vehicles were "inextricably linked and intertwined," see id. at 1002. As
                                  24   the district court explained, the following allegations sufficed to state a cognizable claim:
                                       "that the demand for cars creates the demand for [the price-fixed parts], that [the parts]
                                  25   must be inserted into vehicles to serve a function, that [the parts] remain identifiable,
                                       discrete physical products, unchanged by the manufacturing process or incorporation into
                                  26   vehicles, that [the parts] follow a traceable physical chain, and that [the parts] can be
                                       traced through the chain of distribution." See id.
                                  27          8
                                                In light of such finding, the Court has not determined herein whether allowing an
                                  28   interlocutory appeal would materially advance the ultimate termination of the litigation.

                                                                                       6
                                        Case 3:19-md-02918-MMC Document 1155 Filed 07/12/24 Page 7 of 8




                                  1    context, the Second Circuit made the unremarkable statement that the foreign plaintiffs

                                  2    were required to "demonstrate that the agreement to fix prices in foreign [services]

                                  3    markets had an 'effect' on domestic commerce." See id. at 399. Nothing in Kruman is

                                  4    contrary to the Court's findings in the March 29 Order. Indeed, the Second Circuit's

                                  5    observation that "anticompetitive conduct directed at foreign markets can also directly

                                  6    affect the competitiveness of our domestic markets," see id. at 393, is wholly consistent

                                  7    with the Court's finding that, in the above-titled actions, there exists a triable issue as to

                                  8    the requisite effect on domestic commerce, given plaintiffs' evidence that SAs have no

                                  9    independent utility and that defendants' allegedly fixed prices, although initially charged in

                                  10   a foreign market, can be traced through the chain of distribution to the domestic market

                                  11   for finished products in which plaintiffs participated. See In re Cathode Ray Tube (CRT)

                                  12   Antitrust Litig., 2013 WL 4505701, at *10 (N.D. Cal. August 21, 2013) (rejecting, in case
Northern District of California
 United States District Court




                                  13   where plaintiffs purchased products containing price-fixed component, argument that

                                  14   plaintiffs were "not participants" in "same allegedly restrained market" as market in which

                                  15   defendants sold components; finding sufficient, at pleading stage, plaintiffs' allegations

                                  16   that price-fixed component was "virtually valueless on its own" and "overcharges [were]

                                  17   passed on to [plaintiffs] in a traceable way").

                                  18          Similarly unavailing is defendants' reliance on legislative history, specifically, a

                                  19   House Report in which the Committee on the Judiciary, in addressing the "type of

                                  20   domestic impact" the FTAIA would require, stated "the domestic 'effect' that may serve as

                                  21   the predicate for antitrust jurisdiction under the bill must be of the type that the antitrust

                                  22   laws prohibit." See H.R. 97-686, at 11, 1982 WL 25066. Nothing in the cited legislative

                                  23   history, however, contradicts the findings made in the March 29 Order. As discussed

                                  24   above, the "effect" at issue is defendants' alleged overcharge in a foreign market being

                                  25   passed through the chain of distribution to a domestic market that a trier of fact

                                  26   reasonably could find was inextricably linked and intertwined with the foreign market.

                                  27          In sum, defendants have failed to cite authority supporting the proposition they

                                  28   seek to advance on interlocutory appeal, and, consequently, the Court finds defendants
                                                                                      7
                                        Case 3:19-md-02918-MMC Document 1155 Filed 07/12/24 Page 8 of 8




                                   1   have not shown a substantial ground for difference of opinion exists.

                                   2          As the Ninth Circuit has explained, "[c]ourts traditionally will find that a substantial

                                   3   ground for difference of opinion exists [1] where the circuits are in dispute on the question

                                   4   and the court of appeals of the circuit has not spoken on the point, [2] if complicated

                                   5   questions arise under foreign law, or [3] if novel and difficult questions of first impression

                                   6   are presented." See Couch v. Telescope, Inc., 611 F.3d 629, 633 (9th Cir.2010) (internal

                                   7   quotation and citation omitted). Here, none of those alternatives pertains.

                                   8                                          CONCLUSION

                                   9          For the reasons stated, defendants' motion for certification of the March 29 Order

                                  10   is hereby DENIED.

                                  11          IT IS SO ORDERED.

                                  12
Northern District of California
 United States District Court




                                  13   Dated: July 12, 2024
                                                                                                 MAXINE M. CHESNEY
                                  14                                                             United States District Judge
                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                      8
